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                                          No. 22-2275

                        United States Court of Appeals
                                             for the
                                      Fourth Circuit
                          ______________________________


                Chamber of Commerce of the United States of America,
           NetChoice, and Computer & Communications Industry Association,
                                     Plaintiffs-Appellants,
                                             – v. –
                                     Brooke E. Lierman,
                                      Defendant-Appellee.

                           ______________________________

                                      On appeal from the
                    United States District Court for the District of Maryland
                                   Case No. 21-cv-410-LKG
                           ______________________________

                              CORRECTED OPENING BRIEF
                           ______________________________



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                        CORPORATE DISCLOSURE STATEMENT

              Appellants are the Chamber of Commerce of the United States of

        America, NetChoice, and the Computer & Communications Industry Associ-

        ation. Each is a membership-based trade association.

              None issues stock or has any parent corporation.

              None is aware of any publicly held corporation with a direct financial

        interest in the outcome of the litigation by reason of a franchise, lease, other

        profit-sharing agreement, insurance, or indemnity agreement.

              None is aware of any publicly held member whose stock or equity value

        could be affected substantially by the outcome of the proceeding.

              Although each relies on associational standing to assert injuries of all

        members affected by the Act, none is pursuing the claims of any particular

        member in a representative capacity.

                                            /s/ Michael B. Kimberly




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                                      INTRODUCTION
              When federal courts have jurisdiction over a case, it is their duty to

        exercise it in all but the most exceptional circumstances. The district court in

        this case twice refused to do so. First, it refused to review appellants’ con-

        stitutional and statutory challenges to the punitive levy imposed by the

        Maryland Digital Advertising Gross Revenues Tax Act (the Act), in the

        mistaken belief that the federal Tax Injunction Act (TIA) bars such review.

        Then it refused on mootness grounds to rule on appellants’ remaining chal-

        lenge to the Act’s speech ban, because a Maryland court in another case held

        the levy (but not the speech ban) to be unlawful. Neither reason for declining

        jurisdiction withstands scrutiny.

              The Act assesses an extraordinary levy on large digital advertising

        companies that do business in Maryland. Imposed essentially as a recurring

        fine for perceived misconduct, the Act is punitive at every turn and functions

        nothing like a classic tax. And it is illegal many times over. It explicitly dis-

        advantages electronic commerce relative to other commerce, violating the

        Internet Tax Freedom Act (ITFA). The severity of its surcharge is based on

        companies’ extraterritorial conduct rather than their transactions within

        Maryland, violating the Commerce Clause and the Due Process Clause. And

        it prohibits companies from identifying the nature and amount of the levy on

        customer invoices in plain violation of the First Amendment’s bar on con-

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        tent-based speech bans. Outside the courtroom, both the Comptroller at the

        time (the defendant) and the Attorney General (the defendant’s counsel)

        repeatedly expressed concerns about the Act’s legality.

              Relying first on the TIA, the district court concluded that it could con-

        sider only appellants’ challenge to the Act’s speech ban. But as a century of

        precedent makes clear, the TIA bars pre-enforcement review in federal court

        only when a plaintiff challenges a “classic” tax, not a punitive fee. Relying

        on mootness, the district court later concluded that it could not consider any

        element of this case. But while appellants are happy to see that a Maryland

        state court has confirmed some of the Act’s many legal flaws, that decision

        did not address the speech ban, which has ongoing importance to businesses

        that have already paid assessments under the Act and must decide what they

        can communicate to their customers about cost increases. Moreover, the

        decision is the subject of an appeal, and the State has indicated it may con-

        tinue enforcing the Act in the meantime.

              The district court should have resolved the merits of appellants’ claims

        and entered final judgment in their favor. This Court should reverse and re-

        mand with instructions to do so.

                             JURISDICTIONAL STATEMENT
              The district court had federal-question jurisdiction under 28 U.S.C.

        § 1331 and entered final judgment on December 12, 2022. See JA438. Appel-

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        lants noticed an appeal on December 13, 2022. JA439. This Court’s jurisdic-

        tion rests on 28 U.S.C. § 1291.

                            ISSUES PRESENTED FOR REVIEW
              1. Did the district court err in dismissing the case as moot, despite the

        admitted existence of a continuing Article III controversy?

              2. Does that Act’s pass-through provision (Md. Tax-Gen. § 7.5-102(c))

        violate the First Amendment to the U.S. Constitution?

              3. Did the district court err in dismissing appellants’ pre-enforcement

        challenge to the Act’s levy as barred by the Tax Injunction Act?

                                          STATEMENT
              A.    The Digital Advertising Gross Revenues Tax Act

                    1.    Enactment of the Act

              In the months prior to introduction of the Maryland Digital Advertising

        Gross Revenues Tax Act, NYU Professor Paul Romer published an op-ed in

        the New York Times accusing Google, Facebook, and other “dominant social

        media platforms” of “mak[ing] their profits using business models that

        erode” the “shared values and norms on which democracy depends.” Paul

        Romer, A Tax That Could Fix Big Tech, N.Y. Times (May 6, 2019), https://-

        perma.cc/MZ83-NF5Y (Romer Op-Ed). The letter described large digital ad-

        vertising companies as “too big to trust” and blamed them for creating “a

        haven for dangerous misinformation and hate speech.” Id. Romer called upon


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        States like Maryland to impose a “surcharge” or “penalty” on digital adver-

        tisers to punish them. Id.

              Maryland lawmakers answered the call, introducing the Act in January

        2020. See JA23 (¶ 45) (Senate President Bill Ferguson testifying that the

        law “is based off a model originally built by Paul Romer”). The General

        Assembly passed the Act in March 2020. Governor Hogan vetoed the bill,

        but the Assembly overrode the veto and amended the Act in the next legisla-

        tive session, in February 2021. JA13-18 (¶¶ 1, 4, 5, 26).

                    1.     The Act’s provisions

              As amended, the Act imposes a graduated charge on “digital advertis-

        ing services,” but not on advertising services through other means. Tax-Gen.

        § 7.5-101. “Digital advertising services” are defined as “advertisement ser-

        vices on a digital interface, including advertisements in the form of banner

        advertising, search engine advertising, interstitial advertising, and other

        comparable advertising services.” Id. § 7.5-101(e)(1). A “digital interface” is

        “any type of software, including a website, part of a website, or application,

        that a user is able to access.” Id. § 7.5-101(f).

              The Act exempts from this charge “advertisement services on digital

        interfaces owned or operated by or on behalf of a broadcast entity or news

        media entity.” Id. § 7.5-101(e)(2). A broadcast entity is one “primarily

        engaged in the business of operating a broadcast television or radio station”

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        (id. § 7.5-101(d)), and a news media entity is one “engaged primarily in the

        business of newsgathering, reporting, or publishing articles or commentary,”

        other than aggregators (id. § 7.5-101(g)).

              The Act’s charge is assessed against “annual gross revenues derived

        from digital advertising services in the State.” Tax-Gen. § 7.5-102(b)(1). The

        rate at which the assessment is imposed is tiered, depending on a payer’s

        “global annual gross revenues” (id. § 7.5- 103 (emphasis added))—which is

        to say, on its extraterritorial economic activity:

              • for firms with global annual gross revenues of $100 million or more,
                the Act imposes a 2.5% rate on all assessable revenue;

              • for those with $1 billion or more, the Act imposes a 5.0% rate;

              • for those with $5 billion or more, the Act imposes a 7.5% rate;

              • for those with $15 billion or more, the Act imposes a 10% rate.

        Id. Thus, a company’s overall liability is a function of its out-of-State con-

        duct. JA20 (¶¶ 36-37); JA31 (¶ 85). For example, if two firms both had $5

        million of in-State revenue, but the first firm had $100 million in out-of-

        State revenue and the second had $1 billion in out-of-State revenue, the sec-

        ond firm will pay double the assessment of the first firm.

              Each company that “reasonably expects . . . annual gross revenues

        derived from digital advertising services in the state to exceed $1,000,000”

        in a given year must file “a declaration of estimated tax, on or before April 15



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        of that year.” Tax-Gen § 7.5-201(b)(1). Such companies must also submit

        quarterly estimated payments. Id. § 7.5-201(b)(2).

                    2.    The pass-through provision

              The February 2021 amendment to the law added a pass-through provi-

        sion. Accordingly, “[a] person who derives gross revenues from digital

        advertising services in the State may not directly pass on the cost of the tax

        imposed under this section to a customer who purchases the digital advertis-

        ing services by means of a separate fee, surcharge, or line-item.” Tax-Gen.

        § 7.5-102(c). In the State’s view, the provision is intended to ensure the pay-

        ers of the exaction, and they alone, bear its burden.

              The State stipulated in proceedings below that the pass-through provi-

        sion “does not prohibit a person . . . from indirectly passing on the cost” of

        the Act’s assessment “by factoring such cost into its customer pricing.”

        JA178. Instead, it applies only when “[t]he cost of the tax . . . is imposed on

        the customer by means of a ‘separate fee, surcharge, or line-item.’” Id.

                    3.    The Act’s other unusual characteristics

              By setting such high thresholds for liability, and by excluding broad-

        cast entities and news media firms, the Act’s architects precisely targeted

        “massive technology companies” (JA21 (¶ 39))—those with global foot-

        prints and predominantly internet-based business models—to pay the

        assessment. Just 203 companies of any kind anywhere in the world had

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        2021 annual gross revenue topping $15 billion. See Fortune 500, bit.ly/-

        3wiBi18. Among those, very few derive a sufficiently high level of revenue

        from digital advertising as to subject them to the Act’s penalty. See Tax-Gen.

        § 7.5-201(b)(1); JA21 (¶ 39); JA31 (¶ 85).

              An assessment against gross receipts as opposed to net receipts is also

        highly unusual. Corporate income taxes are traditionally assessed against net

        income on a flat-rate basis. JA26 (¶ 57). Maryland’s corporate income tax

        rate, for example, is a flat 8.25% assessed against net income. Id.; Tax.-Gen.

        § 10-105(b). Because it applies to gross revenue, by contrast, the Act’s sur-

        charge for digital advertising companies is many multiples greater.

              For example, a company with $15 billion in global gross revenue and

        $2 billion in net profits, with 2% of its revenues and profits apportioned to

        Maryland, would pay a corporate income tax of around $3.3 million on $40

        million of Maryland-based pre-tax profit. Under the Act, however, that same

        company would be liable for an additional $30 million—that is, 10% of 2% of

        $15 billion. And assessments on gross receipts apply even to unprofitable

        firms. JA26 (¶ 58).

              The proceeds from the Act are not placed in the general treasury.

        Instead, they are used to pay for administration of the Act, and the remainder

        is deposited in the “Blueprint for Maryland’s Future Fund.” Tax-Gen.

        §§ 2-4A-01, 2-4A-02. The Blueprint Fund is strictly segregated from the

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        State’s general fund, and it is earmarked for specific educational purposes.

        Educ. § 5-219; JA23 (¶ 46).

              The point of devoting the proceeds to the Blueprint Fund is remedia-

        tion. In Romer’s view—and those of the lawmakers that heeded his call—a

        technology-company “surcharge” is necessary because technology compa-

        nies have “created a haven for dangerous misinformation and hate speech

        that has undermined trust in democratic institutions.” Romer Op-Ed 1. From

        that perspective, the growth of “[m]assive technology corporations . . . has

        resulted in negative externalities socialized and borne by the public.” JA23

        (¶ 45) (quoting testimony of Sen. Ferguson). By placing the proceeds of the

        Act in the Blueprint Fund, lawmakers effectively were setting them aside to

        remediate, through education, the perceived “externalities” created by the

        companies targeted by the Act. JA23 (¶ 46); accord Educ. § 1- 302(a)(1) (the

        Blueprint Fund is intended to provide “students with instruction and skills”

        to be “productive citizens of the State”).

              B.    Procedural background

              Shortly after the Assembly overrode Governor Hogan’s veto, appel-

        lants filed a complaint in district court. They filed an operative amended

        complaint on April 30, 2021, raising an additional challenge to the pass-

        through provision.



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              Count I of the complaint (JA29) alleges that the Act’s surcharge is pre-

        empted by ITFA, which prohibits states from imposing “discriminatory taxes

        on electronic commerce.” 47 U.S.C. § 151 note. Counts II and III (JA30-32)

        allege that the surcharge violates the dormant Commerce Clause and Due

        Process Clause because it punishes extraterritorial conduct. Count IV (JA32-

        33) alleges that the pass-through provision, if interpreted to prohibit compa-

        nies from including separate fees relating to the Act on invoices, violates the

        First Amendment.

              The State moved to dismiss, arguing that appellants’ challenge to the

        surcharge is barred by the Tax Injunction Act (TIA) and that appellants

        otherwise fail to state a claim on the merits. Appellants cross-moved for

        summary judgment, contending that the TIA does not apply to punitive fees

        like the Act’s surcharge, and that they are entitled to judgment on the merits

        of each claim.

              The parties’ cross motions became ripe for decision on September 13,

        2021. Soon thereafter, the district court held a status conference, at which it

        ordered supplemental briefing on the applicability of the TIA. This initial

        supplemental briefing concluded December 13, 2021. By this time, the

        parties had submitted over 200 pages of merits briefing.

              Following an initial oral argument on the cross-motions (JA63), the

        district court dismissed Counts I-III of the amended complaint. JA144-160.

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        In just three pages of legal analysis (JA154-156), the court concluded that

        the Act imposes a tax rather than a fee, and that the TIA thus prevented it

        from reaching the merits of Counts I-III. But the court held that Count IV

        was analytically distinct from the surcharge and that the TIA therefore did

        not apply. JA158-159. It accordingly allowed that claim to proceed.

              Over the following nine months, the district court ordered the filing of

        eight more supplemental merits briefs and held two additional oral argu-

        ments on questions relating to the lawfulness of the pass-through provision

        under the First Amendment.

              After the conclusion of supplemental briefing, but before the final oral

        argument in this case, the Circuit Court for Anne Arundel County, in a paral-

        lel state case brought by a distinct group of plaintiffs, declared the Act’s levy

        unlawful. JA273-274. It did not address the pass-through provision. The

        State has appealed. JA318.

              Although the parties agreed that the state-court order does not moot

        the case, the district court dismissed as moot the challenge to the pass-

        through provision. JA429-437. The court was unclear whether it dismissed

        on constitutional or “prudential” grounds. At one point, it reasoned that if it

        were to decide appellants’ challenge to the pass-through provision, it would

        be issuing an “advisory opinion,” which it described as off-limits under

        “Article III of the Constitution.” JA435. But at another point, the court sug-

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        gested it was relying on its “discretionary power” to dismiss the case as

        “moot for prudential reasons.” JA433-434. In the end, the court simply

        dismissed “for lack of subject matter jurisdiction.” JA438.

              Following its mootness decision, the district court entered a final judg-

        ment. JA438. The judgment dismisses Count IV of the complaint (the chal-

        lenge to the pass-through provision) “WITHOUT PREJUDICE for lack of

        subject matter jurisdiction” but Counts I-III (the challenges to the sur-

        charge) “WITH PREJUDICE for lack of subject matter jurisdiction.” Id.

        (emphasis added). The judgment included no further reasoning.

                              SUMMARY OF THE ARGUMENT

              I. A. The Court should reverse and remand with instructions to enter

        judgment for appellants on the challenge to the pass-through provision.

              Count IV is not constitutionally moot. The state court judgment did

        not declare the pass-through prohibition to be unlawful, and the State has

        taken the position that it may continue enforcing it. Meanwhile, more than

        $100 million in estimated payments under the Act have been made. Payers of

        those remittances are actively being chilled from stating the fact and magni-

        tude of price increases attributable to the Act on customer invoices and

        account statements. Count IV thus plainly remains live.

              Count IV also is not prudentially moot. Prudential mootness is a doc-

        trine of questionable validity; if it is valid at all, it may be invoked only spar-

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        ingly. The district court here was capable of entering relief with substantial

        and concrete utility to appellants’ members, and it should have done so.

              I. B. Because appellants’ challenge to the pass-through provision is

        not moot and presents a purely legal question, the Court should hold that the

        provision violates the First Amendment. The State has stipulated that the

        pass-through provision does not prohibit entities from raising prices to

        recoup the Act’s assessment from customers. Instead, the provision bars

        companies from identifying price increases attributable to the Act as a sur-

        charge or line item on account statements. That is a simple content-based

        speech ban. And the speech covered by the provision is political speech; if it

        were not banned, its purpose would be to assign responsibility for rising pric-

        es to the government, holding lawmakers accountable for misguided policies.

        It is presumptively unlawful and does not satisfy strict scrutiny.

              Nor would the pass-through provision satisfy intermediate scrutiny

        even if the speech at issue were deemed commercial speech. Prohibitions on

        truthful, non-misleading commercial speech are subject to special scrutiny,

        and they pass muster only if they are appropriately tailored to a substantial

        governmental interest. The State here has not identified an interest that

        meets that requirement, and the provision would not be necessary to achieve

        any such objective regardless. Every court to confront a similar pass-through



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        provision has held that it flunks whatever level of scrutiny applies and must

        be facially invalidated. The provision here must meet the same fate.

              II. A. The Court should also reverse the district court’s dismissal of

        Counts I-III and remand for further proceedings on those counts. To begin,

        Counts I-III are not moot for the same reason that Count IV is not: The State

        has appealed the state-court judgment. What’s more, the state court declared

        the Act unlawful without enjoining enforcement, which the State has indi-

        cated it may yet undertake. Mootness is no basis for dismissal.

              II. B. Nor are Counts I-III barred by the Tax Injunction Act, which

        forecloses prospective federal-court review of state tax laws. The word “tax”

        has specialized meaning under the TIA, not reflecting contemporary common

        usage. While it covers “classic” taxes levied against wide populations for

        deposit in the general treasury for open-ended use, it does not cover govern-

        mental assessments that have principally punitive functions.

              Several facts confirm that the assessment here is a punitive fee: It is

        remarkably onerous, so much so that it could more than wipe out a payer’s

        profits on its in-State commercial activity; it is narrowly targeted, especially

        at its highest rates of assessment, which deliberately apply to just a handful

        of companies; it includes a pass-through prohibition, which was meant to en-

        sure that the payers of the charge alone bear its brunt—a limitation that

        courts have found inherently punitive; its proceeds are placed in a segregated

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        fund earmarked to offset the perceived negative “externalities” of the pay-

        ers’ conduct, akin to a restitution payment; and the legislative history shows

        that the Act’s architects intended to punish large multinational companies

        for allegedly harming the free flow of information over the internet.

              The district court disregarded these characteristics, concluding that

        the Act assesses a classic tax because it raises revenue for the “general wel-

        fare” from “many” payers. That conclusion disregards the uncontested facts

        and settled caselaw, which uniformly support the opposite conclusion. The

        TIA dismissal thus must be reversed.

              III.   The Court must at minimum remand with instructions to modify

        the judgment. If the Court were to affirm the mootness decision, it would

        have to remand with instructions to vacate the district court’s prior TIA

        decision. And if the Court were to reverse the mootness decision but affirm

        the TIA decision, it would have to remand with instructions to enter judg-

        ment without prejudice as to Counts I-III.

                                   STANDARD OF REVIEW
              This Court reviews a district court’s dismissal for lack of jurisdiction

        de novo. Porter v. Clarke, 852 F.3d 358, 363 (4th Cir. 2017) (mootness);

        GenOn Mid-Atlantic v. Montgomery County, 650 F.3d 1021, 1023 (4th Cir.

        2011) (Tax Injunction Act).




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                                         ARGUMENT
              This appeal presents a live controversy in which federal-court relief

        would have real and immediate utility. The district court’s decision to dis-

        miss the case as moot is indefensible. The Court should reverse that decision

        and remand with instructions to enjoin enforcement of the pass-through pro-

        vision immediately. The Court also should reverse the district court’s TIA

        holding and remand with instructions for the district court to resolve the

        merits of Counts I-III of the complaint in the first instance.

        I.    THE COURT SHOULD HOLD THAT THE PASS-THROUGH
              PROVISION VIOLATES THE FIRST AMENDMENT (COUNT IV)

              A.    The challenge to the pass-through provision is not moot

              The district court incorrectly dismissed Count IV as moot. This Court

        has recognized two versions of the mootness doctrine—a constitutional ver-

        sion and a prudential one. Neither one justifies the outcome below.

                    1.    The challenge to the pass-through provision is not moot in the
                          Article III sense

              Constitutional mootness “is a limitation on federal judicial power

        grounded in the ‘case-or-controversy’ requirement of Article III of the U.S.

        Constitution.” United States v. Springer, 715 F.3d 535, 540 (4th Cir. 2014).

        “[A] suit becomes moot” in this sense “when the issues presented are no

        longer live or the parties lack a legally cognizable interest in the outcome.”

        Chafin v. Chafin, 568 U.S. 165, 172 (2013) (cleaned up) (quoting Already,

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        LLC v. Nike, Inc., 568 U.S. 85, 91 (2013)). A case is no longer live “only

        when it is impossible for a court to grant any effectual relief whatever to the

        prevailing party.” Knox v. Service Employees International Union, 567 U.S.

        298, 307 (2012) (internal quotation marks omitted). Thus, “[t]he mootness

        doctrine” is in actuality “a relatively weak constraint on federal judicial

        power.” Springer, 715 F.3d at 540. “[A]s long as the parties have a concrete

        interest, however small, in the outcome of the litigation, the case is not

        moot.” Ellis v. Railway Clerks, 466 U.S. 435, 442 (1984).

              a. Appellants’ challenge to the pass-through provision is not moot un-

        der these standards. It is beyond contestation that a merits decision in a first

        case does not moot a second case when the second involves additional claims

        not reached in the first. See 13B Fed. Prac. & Proc. Juris. § 3533.2.1 (3d ed.

        2022) (“Wright & Miller”) (a judgment in one lawsuit “that grants part but

        not all of the relief sought” in another lawsuit “does not moot the demand

        for additional relief” in the other lawsuit).

              Here, the state court entered judgment for the plaintiffs in that case

        only on counts one, six, and eight of their complaint (JA313):




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        Each of those three counts challenged the Act’s levy; none challenged the

        pass-through provision. Only counts ten and eleven of the state-court com-

        plaint challenged the pass-through provision (JA307-310), and those counts

        were dismissed without prejudice by stipulation of the parties. See JA315.

        The state court thus did not address the merits of the pass-through provision,

        declare it unlawful, or enjoin its enforcement.

              In short, the pass-through provision remains entirely unaffected by the

        state-court decision. Indeed, the State’s own filings in the state-court appeal

        confirm that the challenge to the pass-through provision remains live. In its

        motion for a stay pending appeal, the State acknowledged that payers already

        have remitted more than $100 million to the Comptroller under the Act. Stay

        Motion 3, Comptroller v. Comcast of California/Maryland/Pennsylvania/Vir-

        ginia/West Virginia LLC, S. Ct. Md. No. 22-327 (Dec. 27, 2022), https://-

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        perma.cc/W7GN-FEDZ (“Stay Motion”). Meanwhile, the pass-through pro-

        vision continues to bar appellants’ members—many of whom continue to

        make estimated payments in anticipation of a possible appellate reversal—

        from conveying truthful, non-misleading facts about those remittances in

        customer communications like invoices and statements. The case therefore

        remains “live” (Chafin, 568 U.S. at 172), and it is not “impossible” for the

        Court “to grant any effectual relief whatever” (Knox, 567 U.S. at 307) to

        appellants on Count IV of the complaint.

              b. Even if the state court had reached the pass-through provision, the

        pendency of the State’s appeal from the state-court order ensures that the

        controversy remains live. JA318. Authorities are clear that when similar le-

        gal challenges are litigated in parallel cases, and the trial court in the first

        case grants relief, the second case is not rendered moot as long as the deci-

        sion in the first case remains “subject to reopening or appeal.” 13B Wright &

        Miller § 3533.2.1; see id. (“Action by another tribunal in related proceedings

        does not always moot a pending action.”). That was this Court’s conclusion

        in North Carolina State Conference of the NAACP v. Raymond, 981 F.3d 295

        (2020), where it held that it could not “presume” the outcome of further

        state-court proceedings after a state court in parallel litigation had entered a

        preliminary injunction. Id. at 301-302. There accordingly would be no

        ground for holding that appellants’ challenge to the pass-through prohibition

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        is constitutionally moot even if the state court had reached the merits of the

        plaintiffs’ challenge to the pass-through prohibition.

              Notably, the State did not disagree with these points in proceedings be-

        fore the district court. It took the position, instead, that “[t]he ruling issued

        by the Circuit Court for Anne Arundel County . . . does not affect the ability

        of [the district court] to adjudicate this case.” JA275. And at oral argument,

        counsel for the State noted that the case law “does not reveal any case that

        holds that a state trial-level decision that’s pending appeal compels a federal

        court to dismiss a related action.” JA328. Those statements were correct,

        and the parties thus agree that this case is not moot in the constitutional

        sense.

                    2.    The challenge to the pass-through provision is not pruden-
                          tially moot

              Nor does prudential mootness justify dismissal of Appellants’ chal-

        lenge to the pass-through provision. As an initial matter, prudential moot-

        ness is a doctrine that has been narrowed significantly by the Supreme Court

        in recent cases. And dismissal here for prudential reasons would not be justi-

        fied even under this Court’s older precedents.

              a. To begin, prudential mootness—which, like other doctrines of pru-

        dential justiciability, purports to allow federal courts to decline jurisdiction

        as a matter of discretion—is today a doctrine of questionable vitality. See,


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        e.g., Kentucky v. U.S. ex rel. Hagel, 759 F.3d 588, 596 n.3 (6th Cir. 2014)

        (“In several recent cases, the Supreme Court . . . has placed the continuing

        vitality of the prudential aspects of standing and ripeness, [which] are

        closely related to mootness, in doubt.”); In re Continental Airlines, 91 F.3d

        553, 567 (3d Cir. 1996) (en banc) (Alito, J., dissenting) (questioning the

        validity of the “curious doctrine of ‘equitable mootness’”).

              It has been settled since the Founding Era that federal courts “have no

        more right to decline the exercise of jurisdiction which is given, than to

        usurp that which is not given.” Cohens v. Virginia, 19 U.S. (6 Wheat.) 264,

        404 (1821) (Marshall, C.J.); accord Spann v. Martin, 963 F.2d 663, 673 (4th

        Cir. 1992) (“The district court has a duty to decide cases within its juris-

        diction.”). The Supreme Court accordingly has recognized that a dismissal

        based on prudential non-justiciability is “in some tension” with the settled

        rule that “a federal court’s obligation to hear and decide” cases over which it

        has jurisdiction “is virtually unflagging.” Lexmark International v. Static

        Control Components, 572 U.S. 118, 126 (2014) (quotation marks omitted)

        (quoting Sprint Communications v. Jacobs, 571 U.S. 69, 77 (2013)).

              In recent cases, the Court thus has pared back on prudential justiciabil-

        ity. In Lexmark, the Court limited federal courts’ discretion to dismiss cases

        for lack of “prudential standing,” explaining that two of the principal

        circumstances in which courts have applied that doctrine “d[o] not belong”

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        under “the ‘prudential’ rubric” at all. 572 U.S. at 126-127. In Susan B.

        Anthony List v. Driehaus, 573 U.S. 149 (2014), the Court reversed the Sixth

        Circuit’s dismissal for lack of “prudential ripeness,” again calling into ques-

        tion the “continuing vitality” of the doctrine. Id. at 167. And in Sprint, the

        Court held presciently that federal courts “have no . . . right to decline the

        exercise of jurisdiction” when they have it, and “[p]arallel state-court pro-

        ceedings do not detract from that obligation.” 571 U.S. at 77.

              The thrust of these recent cases is that, if prudential limitations on jus-

        ticiability remain valid at all, they are applicable only in exceptional circum-

        stances. Certainly, a federal court may not dodge the merits of a case proper-

        ly before it simply because it would prefer not to decide.

              b. Forty years ago, this Court identified a number of factors that bear

        on prudential mootness. S-1 v. Spangler, 832 F.2d 294 (4th Cir. 1987). Only

        the first “and most fundamental[]” factor (id. at 297) is relevant here. It

        asks whether “[t]he specific relief sought . . . no longer has sufficient utility

        to justify decision.” Id. That cannot be said here.

              Again, companies subject to the Act have paid substantial estimated

        taxes under the Act. Stay Motion 3 (collections of more than $100 million

        under the Act in 2022). And the pass-through provision continues to bar

        appellants’ members from including a “separate fee, surcharge, or line-item”

        that attributes corresponding price increases to those payments. Tax-Gen.

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        § 7.5-102(c). The result is “self-censorship, which occurs when a claimant is

        chilled from exercising [the] right to free expression” because of an express

        legal prohibition. Cooksey v. Futrell, 721 F.3d 226, 235 (4th Cir. 2013)

        (quoting Benham v. City of Charlotte, 635 F.3d 129, 135 (4th Cir. 2011)). A

        federal declaratory judgment that the pass-through provision is unlawful

        thus would have significant and immediate utility.

              “The only conceivable basis for a finding of mootness” on prudential

        grounds in circumstances like these would be to conclude that the State, by

        its “voluntary conduct,” will not enforce the law. Friends of the Earth v.

        Laidlaw Environmental Services (TOC), 528 U.S. 167, 189 (2000). But “a

        defendant claiming that its voluntary [cessation]” warrants dismissal “bears

        the formidable burden of showing that it is absolutely clear the allegedly

        wrongful behavior could not reasonably be expected to recur.” Id at 190 (cit-

        ing United States v. Concentrated Phosphate Export Association, 393 U.S.

        199, 203 (1968)).

              That burden has not been met here. On the contrary, the State explicit-

        ly disavowed voluntary cessation at the last hearing before the district court,

        insisting that the pass-through provision “could be enforced.” JA327. And it

        is vigorously appealing the state-court judgment. Moreover, the State did not

        raise voluntary cessation or seek dismissal on that ground—which matters,

        because a dismissal based on voluntary cessation is waivable. See June Medi-

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        cal Services LLC v. Russo, 140 S. Ct. 2103, 2117 (2020) (clarifying that

        “prudential” limitations on justiciability do “not involve the Constitution’s

        ‘case or controversy requirement’” and so “can be forfeited or waived”).

              Extension of prudential mootness to these facts—where the case is

        obviously still live in the constitutional sense, entry of judgment would have

        substantial practical utility, and the State has not asked for a prudential

        dismissal—would greatly expand a disfavored doctrine, offending recent

        Supreme Court precedent and Article III itself. The district court’s dismissal

        of Count IV on mootness grounds accordingly should be reversed.

              B.    The pass-through provision violates the First Amendment

              Because the unconstitutionality of the pass-through provision under

        the First Amendment is an urgent and purely legal issue, the Court should

        reach the merits of Count IV and hold that the pass-through provision vio-

        lates the First Amendment. When a district court has erroneously dismissed

        a claim as moot, and when “the question is purely a legal one, a remand is

        unnecessary and this court will reach the constitutional question.” Perry v.

        Bartlett, 231 F.3d 155, 160 (4th Cir. 2000).




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                    1.    The pass-through provision is a content-based ban on
                          political speech

              The First Amendment doctrine at issue here is straightforward. Under

        the Free Speech Clause, as incorporated against the States by the Fourteenth

        Amendment, state governments have “no power to restrict expression be-

        cause of its message, its ideas, its subject matter, or its content.” Reed v.

        Town of Gilbert, 576 U.S. 155, 163 (2015) (quoting Police Department of

        Chicago v. Mosley, 408 U.S. 92, 95 (1972)). “Content-based laws—those

        that target speech based on its communicative content—are presumptively

        unconstitutional and may be justified only if the government proves that

        they are narrowly tailored to serve compelling state interests.” Id. (citing

        R.A.V. v. St. Paul, 505 U.S. 377, 395 (1992); Simon & Schuster, Inc. v. Mem-

        bers of N.Y. State Crime Victims Board, 502 U.S. 105, 115 (1991)). The pass-

        through provision falls within that description and is therefore presump-

        tively invalid under the First Amendment.

              a. To begin, the Act’s pass-through provision is a ban on speech, not

        conduct. It specifies in relevant part that an entity subject to the Act’s

        charge “may not directly pass on the cost . . . to a customer . . . by means of a

        separate fee, surcharge, or line-item.” Tax-Gen. § 7.5-102(c). The State has

        stipulated that this language does not prohibit such an entity from “in-

        directly passing on the cost” of the Act’s levy “by factoring such cost into its


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        customer pricing.” JA178. The provision thus does not regulate customer

        pricing or forbid parties from recouping the cost of the Act’s assessment.

              Instead, the pass-through provision regulates what companies may say

        to their customers on invoices. It forbids companies from stating an express

        “fee, surcharge, or line-item” that identifies with particularity the fact and

        magnitude of the price increase attributable to enactment of the Act. That is

        to say, the provision does not “regulate[] the amount a [taxpayer] can col-

        lect” from customers (it can collect what it likes); it only “regulates how

        sellers may communicate their prices” on invoices, billing statements, and

        the like. Expressions Hair Design v. Schneiderman, 137 S. Ct. 1144, 1146

        (2017). That is a ban on speech, not conduct. Id.

              The pass-through provision is thus indistinguishable from the prohibi-

        tion invalidated by the Sixth Circuit in BellSouth Telecommunications, Inc. v.

        Farris, 542 F.3d 499 (2008). There, Kentucky imposed a tax on telecommu-

        nications providers. Like Maryland here, Kentucky prohibited those provid-

        ers from “separately stat[ing] the tax on [a customer’s] bill.” Id. at 500. Ob-

        serving that the State “has no objection to the providers’ conduct (raising

        prices to account for the new tax), just its speech (saying why it has raised

        prices),” the Sixth Circuit held that the provision “regulates speech, not

        conduct.” Id. at 506. Just so here.



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              In proceedings below, however, the State continued to insist, even

        after the parties’ joint stipulation (JA178), that the ban regulates conduct

        and not speech. Yet it has not once offered a coherent explanation for that

        position. And a few simple examples readily prove it wrong. Each of the

        following three invoices, for instance, would be unlawful according to the

        plain language of the pass-through provision:

                                    ACME DIGITAL ADVERTISING
                                     INVOICE – February 1, 2022

              January 2022 advertising services: $900
              Maryland Digital Advertising Tax recoupment fee: $100
              Total due: $1000

                             SMITH & SONS DIGITAL ADVERTISING CO.
                                   INVOICE – February 1, 2022

              Total due for January 2022 advertising services: $1000*
              * Includes a 10% surcharge for the Maryland Digital Advertising Tax, which
              will be remitted to Comptroller of Maryland pursuant to Md. Tax-Gen. § 7.5-
              102.

                                 DIGITAL MARKETING OF AMERICA
                                    INVOICE – February 1, 2022

              Advertising services, 1/1/22 thru 1/31/22: $1000
              Please note: Your total includes a $100 fee to pay the Maryland Digital
              Advertising Tax.

        Yet the same companies, charging the same prices for the same services,

        would comply with Section 7.5-102(c) by censoring their written speech:

                                    ACME DIGITAL ADVERTISING
                                     INVOICE – February 1, 2022

              January 2022 advertising services: $900 $1000
              Maryland Digital Advertising Tax recoupment fee: $100
              Total due: $1000


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                            SMITH & SONS DIGITAL ADVERTISING CO.
                                  INVOICE – February 1, 2022

              Total due for January 2022 advertising services: $1000*
              * Includes a 10% surcharge for the Maryland Digital Advertising Tax, which
              will be remitted to Comptroller of Maryland pursuant to Md. Tax-Gen. § 7.5-
              102.

                                DIGITAL MARKETING OF AMERICA
                                   INVOICE – February 1, 2022

              Advertising services, 1/1/22 thru 1/31/22: $1000
              Please note: Your total includes a $100 fee to pay the Maryland Digital Ad-
              vertising Tax.

        A regulation that censors the truthful, non-misleading communication of in-

        formation like this is not a permissible regulation of conduct; it is an imper-

        missible regulation of speech.

              b. The pass-through provision is not just a speech ban; it is a content-

        based speech ban. “[T]he phrase ‘content based’ requires a court to consider

        whether a regulation of speech ‘on its face’ draws distinctions based on the

        message a speaker conveys.” Reed, 576 U.S. at 163. More simply put, a law

        is content-based if it “applies to particular speech because of the topic dis-

        cussed or the idea or message expressed.” Id.

              The pass-through provision is just such a law. An invoice that does not

        expressly attribute increased advertising costs to the Act through an express

        fee or line-item is lawful. But an invoice that does make that attribution—one

        that identifies the fact and magnitude of the price increase attributable to the

        Act and assigns responsibility for it to elected officials through an expressly-


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        stated “fee, surcharge, or line-item” to recoup the Act’s assessment (Tax-

        Gen. § 7.5-102(c))—is prohibited and subject to punishment. Without doubt,

        distinguishing between a permissible and impermissible invoice requires an

        analysis of “the message [the] speaker conveys.” Reed, 576 U.S. at 163. The

        law thus plainly “targets speech based on its communicative content—that

        is, it applies to particular speech because of the topic discussed or the idea or

        message expressed.” City of Austin v. Reagan National Advertising, 142 S.

        Ct. 1464, 1471 (2022) (cleaned up) (quoting Reed, 576 U.S. at 163).

              c. Making matters still worse for the State, the prohibited speech is

        political speech, which is subject to the highest and most urgent protections

        of the First Amendment. As the Sixth Circuit has explained, a pass-through

        provision like this one forbids payers of the Act’s assessment from “announ-

        cing who bears political responsibility” for the new charge in the “forum

        most likely to capture voters’ attention: an invoice that displays a predict-

        able consequence of the tax.” BellSouth, 542 F.3d at 505. A line-item iden-

        tifying a separate amount attributable to the Act allows a company to com-

        municate to its customers the reason for rising prices—it conveys that a price

        increase is not the result of economic opportunism by the company, but the

        ill-conceived actions of elected officials.

              Congress has recognized the importance of this kind of speech in relat-

        ed contexts. For example, in its regulation of cable operators, Congress has

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        specified that local regulators may not prohibit the identification “as a sepa-

        rate line item on each regular bill of each subscriber” of “[t]he amount of the

        total bill assessed as a franchise fee and the identity of the franchising

        authority to which the fee is paid.” 47 U.S.C. § 542(c)(1). The purpose of

        this provision is “to inform subscribers that local elected officials are impos-

        ing franchise fees so that there will be a measure of accountability for fees

        and fee increases.” Mem. Op. & Order, The City of Pasadena, Cal., et al., Pe-

        titions for Declaratory Ruling, 2001 WL 1167612, ¶ 23 (FCC Oct. 4, 2001),

        petitions for review denied, Texas Coal. of Cities for Utility Issues v. FCC, 324

        F.3d 802 (5th Cir. 2003).

              The point of “subscriber bill itemization [is] to give the cable compa-

        nies an opportunity to itemize these so-called hidden costs, to explain to the

        people” why prices are rising, so they “will know it is not just the cable

        company jacking up the prices” but excessive “taxes which the cable has to

        pay.” 138 Cong. Rec. S561-02, S569 (daily ed. Jan. 29, 1992) (statement of

        Sen. Lott). The pass-through provision muzzles that kind of speech here,

        permitting elected officials who are in fact responsible for increased prices to

        “duck political responsibility.” BellSouth, 542 F.3d at 505.

              The freedom to speak on “public issues” and to help “hold officials

        accountable to the people” is “an essential mechanism of democracy.” Citi-

        zens United v. FCC, 558 U.S. 310, 339 (2010); accord Garrison v. Louisiana,

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        379 U.S. 64, 74-75 (1964) (“[S]peech concerning public affairs is more than

        self-expression; it is the essence of self-government.”). This is particularly

        true for the government’s power to tax, for which the primary security

        against abuse is democratic accountability: “A State’s constituents can be

        relied on to vote out of office any legislature that imposes an abusively high

        tax on them.” United States v. Fresno County, 429 U.S. 452, 458-59 (1977).

              d. Before the district court, the State contended that if the pass-

        through provision does regulate speech, it is only “commercial” speech, as to

        which a lower level of scrutiny applies. That is not so. The Supreme Court

        has defined commercial speech as “expression related solely to the economic

        interests of the speaker and its audience.” Central Hudson Gas & Electric

        Corp. v. Public Service Commission, 447 U.S. 557, 561 (1980). It is “usually

        defined as speech that does no more than propose a commercial transaction.”

        United States v. United Foods, Inc., 533 U.S. 405, 409 (2001). The Supreme

        Court has therefore identified the proposal of a commercial transaction—for

        example, “I will sell you the X prescription drug at the Y price” (Virginia

        State Board of Pharmacy v. Virginia Citizens Consumer Council, 425 U.S.

        748, 761 (1976))—as “the core notion of commercial speech” (Bolger v.

        Youngs Drug Products Corp., 463 U.S. 60, 66 (1983)).

              That does not describe the speech regulated by the pass-through provi-

        sion. A line-item expressly identifying the fact and magnitude of the digital-

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        advertising surcharge is a statement assigning political responsibility for the

        cost to the State rather than the service provider. It is plainly not a proposal

        to engage in a commercial transaction.

              The fact that the speech at issue here is the speech of a for-profit com-

        pany conveyed on a document relating to a commercial transaction does not

        alter that conclusion. A company can express its support for a particular elec-

        toral candidate or for particular legislation; such speech is not rendered

        “commercial” for First Amendment purposes merely because it is the speech

        of a for-profit company appearing on an invoice or account statement, rather

        than on a leaflet, billboard, or website.

                    2.    The pass-through provision fails any level of scrutiny

              a. As a content-based restriction on political speech, the pass-through

        provision is “presumptively unconstitutional.” Reed, 576 U.S. at 163. It may

        be sustained “only if the government proves that [it is] narrowly tailored to

        serve compelling state interests.” Id. But there is no chance that this “is the

        rare case” in which such a law can withstand such scrutiny. Burson v. Free-

        man, 504 U.S. 191, 211 (1992) (plurality opinion).

              To establish a compelling interest, the State would have to (1) identify

        an interest that is “some pressing public necessity, some essential value that

        has to be preserved” (Turner Broadcasting Systems v. FCC, 512 U.S. 622,

        680 (1994) (O’Connor, J., concurring)) and (2) show that preservation of

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        that compelling value was the legislature’s “actual purpose” for the law and

        not a post hac rationalization (Shaw v. Hunt, 517 U.S. 899, 908 n.4 (1996)).

              Setting aside any interest the State may have in the Act’s “tax,” noth-

        ing in the text of the Act or in the legislative history indicates a compelling

        interest for the accompanying speech ban. The legislative history indicates

        that the purpose of the pass-through provision was to ensure that the tax is

        borne by large digital advertising companies, and not by others. But wishing

        to ensure that disfavored speakers bear the brunt of a punitive government

        levy is not a legitimate, let alone compelling, interest for a speech ban. See

        Citizens United, 558 U.S. at 341 (“[I]n the context of political speech, the

        Government may [not] impose restrictions on certain disfavored speaker”).

              Nor would the prohibition be narrowly tailored even if punishment

        were a compelling governmental interest in this context. There are “plausi-

        ble, less restrictive alternative[s]” (United States v. Playboy Entertainment

        Group, 529 U.S. 803, 816 (2000)) to punishing the targeted companies apart

        from silencing their words. Again, the State has not argued otherwise. The

        provision readily fails strict scrutiny, and it must be invalidated.

              b. Even if the speech at issue here could be characterized as commer-

        cial rather than political speech, and thus subject to Central Hudson

        scrutiny, the law would still be unconstitutional.



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              Under Central Hudson, “bans against truthful, nonmisleading com-

        mercial speech,” such as the one at issue here, are evaluated with “special

        care” and “rarely survive constitutional review.” 44 Liquormart v. Rhode Is-

        land, 517 U.S. 484, 504 (1996) (plurality) (quoting Central Hudson, 447

        U.S. at 566 n.9). That is because “bans that target truthful, nonmisleading

        commercial messages rarely protect consumers from” deceptive commercial

        speech; instead, “such bans often serve only to obscure an underlying gov-

        ernmental policy . . . [and] impede debate over central issues of public poli-

        cy.” Id. at 502-503 (cleaned up).

              That is the case here: The pass-through prohibition censors truthful,

        non-misleading speech that otherwise would bring attention to misguided tax

        policies for which lawmakers wish to avoid accountability. It does not come

        close to surviving Central Hudson.

              Central Hudson’s first prong requires the Court to “ask whether the

        asserted governmental interest is [a] substantial” one. Educational Media

        Co. at Virginia Tech v. Insley, 731 F.3d 291, 299 (4th Cir. 2013) (quoting

        Central Hudson). Not just any governmental interest will do—Central Hud-

        son, after all, calls for more than mere “rational-basis review.” Edenfield v.

        Fane, 507 U.S. 761, 768 (1993). Moreover, the State bears the burden here,

        and “mere speculation or conjecture” is not enough; the State “must demon-



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        strate that the harms it recites are real and that its restriction will in fact

        alleviate them to a material degree.” Id. at 770-771.

              But again, the State’s interest in ensuring that the tax is borne by large

        digital advertising companies alone is not a substantial one. Nor does the

        provision advance that interest in any event. The State has conceded (JA178)

        that payers of the levy may pass it on to customers with price increases. All

        the pass-through prohibition accomplishes is to prevent them from telling

        customers why their bill has increased and by how much.

              Courts have repeatedly invalidated similar measures prohibiting com-

        panies from stating taxes and fees imposed by the government as line-items

        on bills to customers. See, e.g., BellSouth, 542 F.3d at 506-10 (Kentucky law

        prohibiting telecommunications providers from separately identifying a tax

        on bills violated First Amendment); AT&T Corp. v. Rudolph, 2007 WL

        647564, at *1, *13 (E.D. Ken. Feb. 27, 2007) (Kentucky law prohibiting

        companies from collecting tax “directly from purchasers” by “separately

        stating the tax on the bill to purchasers” violated First Amendment); Bloom

        v. O’Brien, 841 F. Supp. 277, 280-281 (D. Minn. 1993) (Minnesota law pro-

        hibiting healthcare providers from itemizing gross revenue tax on patient’s

        bill likely violated First Amendment). This Court should do the same.




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                    3.    The pass-through provision is facially invalid

              Facial invalidation of the pass-through provision is appropriate in this

        case because “no set of circumstances exists under which [the law] would be

        valid.” Greater Baltimore Center for Pregnancy Concerns v. Mayor & City of

        Baltimore, 721 F.3d 264, 282 (4th Cir. 2013) (quoting United States v.

        Stevens, 559 U.S. 460, 472-473 (2010)). Whenever the provision applies, it

        restricts speech based on its content—and it does so without being appropri-

        ately tailored to any sufficiently weighty state interest, regardless the level

        of scrutiny applied.

              As other courts have held, “where a statute fails the relevant constitu-

        tional test,” the law cannot ever “be constitutionally applied to anyone—and

        thus there is ‘no set of circumstances’ in which the statute would be valid.”

        Doe v. City of Albuquerque, 667 F.3d 1111, 1127 (10th Cir. 2012); accord

        Bruni v. City of Pittsburgh, 824 F.3d 353, 363 (3d Cir. 2016). That is why

        the uniform outcome in a challenge to speech bans like this is facial invalida-

        tion. See, e.g., United States v. Alvarez, 567 U.S. 709 (2012); Brown v. Enter-

        tainment Merchants Association, 564 U.S. 786 2011); Citizens United, 448

        U.S. at 365-366; United States v. Playboy Entertainment Group, 529 U.S.

        803, 811-827 (2000); 44 Liquormart, 517 U.S. at 516; Central Hudson, 447

        U.S. at 572; R.A.V., 505 U.S. at 391. This case is no exception.



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              C.    No further proceedings on Count IV are warranted

              Immediate resolution by this Court of Count IV is both appropriate and

        important. It is appropriate because the First Amendment violation here is

        both clear and purely legal. In these circumstances, “a remand is unneces-

        sary and this court [should] reach the constitutional question.” Perry, 231

        F.3d at 160.

              It is important because the pass-through provision is chilling speech,

        contravening First Amendment values. Appellants filed this suit nearly two

        years ago, and no federal court has yet to pass on the merits of their claims.

        In the meantime, appellants’ members have been paying (and many will con-

        tinue to pay) estimated taxes under the Act. It is essential that they obtain

        clarity on the question whether the First Amendment protects their right to

        attribute price increases to the Act using line-items and express surcharges.

        The district court is no better positioned than this Court to answer that ques-

        tion, and further delay and would perpetuate the First Amendment harms

        implicated. The Court should thus rule for appellants on Count IV now.

        II.   THE COURT SHOULD REVERSE THE DISMISSAL OF COUNTS
              I-III AND REMAND FOR FURTHER PROCEEDINGS

              Earlier in the proceedings below, the district court dismissed appel-

        lants’ challenges to the levy itself (Counts I-III) as barred by the Tax Injunc-

        tion Act. That, too, was reversible error. Because Counts I-III, like Count IV,


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        are not moot, and because the TIA is no bar to this suit, the district court

        should have reached and resolved the merits of these claims.

              A.    Counts I-III are not mooted by the state court order

              Although the district court held only Count IV moot, its reasoning may

        be understood to extend to the entire case. But Counts I-III are not moot, for

        the same reason that Count IV is not moot: The State has appealed. See supra

        18-19; 13B Wright & Miller § 3533.2.1; JA318.

              They are also not moot because the state court judgment only declared

        the Act’s assessment unlawful; it did not enjoin its enforcement. The State

        thus argued before the district court in this case that, in the absence of an

        injunction that explicitly restrains enforcement of the Act, the Comptroller

        may continue enforcing the Act. See JA326-327 (oral argument). Unsur-

        prisingly, the State has not instructed payers of the Act’s levy that they may

        cease or withhold estimated payments, and many are continuing to make

        estimated payments under the Act to avoid possible penalties and interest for

        failure to do so. See JA 339 (oral argument). It therefore is not “impossible

        for [the district] court to grant any effectual relief whatever” with respect to

        Counts I-III; even if enforcement of the Act is now less probable than it

        initially was, “improbability and impossibility are not the same thing.” Ray-

        mond, 981 F.3d at 302.



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              The scenario here is also common. Courts routinely consider overlap-

        ping challenges to the same laws in parallel lawsuits, and it’s rote that an

        appealable judgment in one case does not moot the other case. For example,

        compare International Refugee Assistance Project v. Trump, 265 F. Supp. 3d

        570 (D. Md. 2017) (granting nationwide injunctive relief in October 2017)

        with Hawai‘i v. Trump, 241 F. Supp. 3d 1119 (D. Haw. 2017) (granting same

        nationwide relief months earlier, in March 2017). Again, the State did not

        argue otherwise below; the parties agree that this case is not moot.

              B.    Counts I-III are not barred by the TIA

              Counts I-III are not barred by the TIA, which ordinarily bars pre-

        enforcement judicial review of state taxes in federal court. 28 U.S.C. § 1341.

        As demonstrated below, the word “tax” has a unique meaning under the TIA

        based on more than 130 years of judicial precedent. It excludes state exac-

        tions imposed for principally punitive purposes. And numerous features of

        the Act’s surcharge here indicate that it falls within that excluded category.

        The district court was thus wrong to dismiss Counts I-III on TIA grounds.

                    1.    The TIA applies to “classic” taxes, not to punitive fees

              a. Enacted in 1937, the TIA provides that “[t]he district courts shall

        not enjoin, suspend or restrain the assessment, levy or collection of any tax

        under State law where a plain, speedy and efficient remedy may be had in the

        courts of such State.” 28 U.S.C. § 1341. The TIA’s language “was modeled

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        on the Anti-Injunction Act,” which is the federal-tax analogue of the TIA.

        Direct Marketing Association v. Brohl, 575 U.S. 1, 8 (2015). Because the TIA

        and AIA are so closely related, the Supreme Court has long “assume[d] that

        words used in both Acts are generally used in the same way.” Id. Courts also

        have traditionally given weight under the TIA to contemporaneous cases

        construing the meaning of “tax” under the Tax Clause. See, e.g., NFIB v.

        Sebelius, 567 U.S. 519 (2012); Bidart Bros. v. California Apple Commission,

        73 F.3d 925, 931 (9th Cir. 1996).

              At the time of the TIA’s enactment in 1937, the Supreme Court had

        drawn a clear distinction between “taxes” on the one hand (to which the AIA

        and Tax Clause applied) and “penalties” and “fees” on the other hand (to

        which the AIA and Tax Clause did not apply). See, e.g., Graham v. Dupont,

        262 U.S. 234, 258 (1923). As early as 1922, the Court had recognized, in a

        case concerning the Tax Clause, that taxes may be enacted for the purpose

        not only “of obtaining revenue” but also “discouraging” and punishing con-

        duct. Bailey v. Drexel Furniture Co., 259 U.S. 20, 38 (1922). The Court

        explained that such assessments generally “do not lose their character as

        taxes because of the incidental motive” to regulate. Id. “But,” the Court

        cautioned, “there comes a time in the extension of the penalizing features of

        [a] so-called tax when it loses its character as such and becomes a mere

        penalty, with the characteristics of regulation and punishment” rather than

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        taxation. Id. Although “[t]he difference between a tax and a penalty is some-

        times difficult to define,” the “consequences” of the exaction and “the re-

        quired method of their collection often are important” to the distinction. Id.

        And, importantly, an exaction may be a “penalty” even when lawmakers do

        not “expressly declare” that the conduct being assessed “is illegal.” Id.

              Applying this tax/fee distinction in Lipke v. Lederer, 259 U.S. 557

        (1922), the Court held that an assessment denominated a “tax” by Congress

        fell outside the reach of the AIA because it “lack[ed] all the ordinary charac-

        teristics of a tax” and instead had the “function of a penalty.” Id. at 562.

        The Court held similarly in Regal Drug Corporation v. Wardell, 260 U.S. 386

        (1922), where it recognized “[t]he distinction between a tax and a penalty”

        for AIA purposes, holding that “even if [an] imposition may be considered a

        tax, if it [has a] punitive purpose, it must be preceded by opportunity to con-

        test its validity” in federal court. Id. at 391-392 (citing Central of Georgia

        Railway v. Wright, 207 U.S. 127 (1907)).

              These cases all accorded with the Court’s decision in The Head Money

        Cases, 112 U.S. 580 (1884), which, like Drexel Furniture, concerned the

        meaning of “tax” under the Tax Clause. The Head Money Cases involved a

        challenge to a $0.50-per-person fee assessed against shipping companies for

        each non-citizen passenger they brought to the United States. Id. at 586. In

        holding that the fee was not a “tax,” the Court explained that “the real pur-

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        pose and effect of the statute” was to remediate the public cost “inherent in

        the business of bringing foreigners to this country.” Id. at 595. The funds

        raised did “not go to the general support of the government.” Id. at 596. The

        proceeds thus “constitute[d] a fund raised from those who are engaged in the

        transportation of these passengers, and who make profit out of it, for the

        temporary care of the passengers whom they bring among us, and for the pro-

        tection of the citizens among whom they are landed.” Id. It therefore did not

        qualify as an “ordinary tax,” even if “called a tax,” because its proceeds

        were strictly earmarked to offset the costs of externalities of the businesses

        upon which the exaction was assessed. Id.

              Thus, by the time the 75th Congress enacted the TIA in 1937—using

        the word tax “in the same way” as the Supreme Court had by then construed

        it under the AIA (Direct Marketing, 575 U.S. at 8) and Tax Clause—there

        was no question that an assessment with a principally punitive purpose and

        earmarked for restitutionary programs and not commingled with general

        government funds was not a “tax” within the meaning of the TIA.

              b. The analytical framework established in the Supreme Court’s early

        Tax Clause and AIA cases has been carried forward by the courts of appeals,

        including this Court, in more recent decisions.

              These cases recognize that the TIA applies to so-called “classic” taxes,

        or assessments “imposed by a legislature upon many, or all, citizens” to

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        “raise[] money, contribute[] to a general fund, and spen[d] for the benefit of

        the entire community.” San Juan Cellular Telephone Co. v. Public Services

        Commission of Puerto Rico, 967 F.2d 683, 685 (1st Cir. 1992) (Breyer, J.);

        accord Valero Terrestrial Corp. v. Caffrey, 205 F.3d 130, 134 (4th Cir. 2000)

        (citing San Juan Cellular). But the TIA does not bar pre-enforcement chal-

        lenges to government assessments with “punitive qualities.” Denton v. City

        of Carrollton, Georgia, 235 F.2d 481, 485 (5th Cir. 1956).

              Exactions that reflect “punitive purposes” are instead properly classi-

        fied as fees or penalties, which are “distinguished from a mere ‘tax.’”

        Department of Revenue of Montana v. Kurth Ranch, 511 U.S. 767, 779-780

        (1994) (discussing the Tax Clause). In other words, “a tax might be so total-

        ly punitive in purpose and effect that, since nomenclature is unimportant, it

        should be classified as a fine rather than a tax” for TIA purposes, even when

        denominated by the legislature as a tax. Empress Casino Joliet Corp. v. Bal-

        moral Racing Club, Inc., 651 F.3d 722, 729 (7th Cir. 2011) (en banc) (citing

        Lipke, Retail Industry Leaders Ass’n v. Fielder, 475 F. 3d 180 (4th Cir. 2007)

        (RILA), Denton, and Kurth Ranch).

              In this Circuit, when determining whether a particular charge is a puni-

        tive fee or a tax “for purposes of the Tax Injunction Act,” courts likewise do

        “not focus on the superficial nomenclature provided to the charge at issue.”

        GenOn Mid-Atlantic, LLC v. Montgomery County, Maryland, 650 F.3d 1021,

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        1023 (2011) (quotation marks omitted) (quoting Valero, 205 F.3d at 134).

        “Instead, [courts] must examine the explicit factual circumstances that

        transcend the literal meaning of the terminology and ask whether the charge

        is levied primarily for revenue raising purposes, making it a tax, or whether it

        is assessed primarily for regulatory or punitive purposes, making it a fee.” Id.

        (quotation marks omitted) (quoting same).

              “To aid in this determination,” the Court has sometimes applied a

        three-factor test, “for guidance.” GenOn, 650 F.3d at 1023 (quoting same).

        At the same time, this Court’s “decisions distinguishing between taxes and

        fees have not always rigorously adhered to the three-factor analytical frame-

        work” and have rightly recognized that the distinction turns in the end on “a

        totality-of-the-facts-and-circumstances test” rather than a “‘set of rigid

        rules or elements [to support] a mechanical conclusion.’” Norfolk Southern

        Railway v. City of Roanoke, 916 F.3d 315, 326-327 (4th Cir. 2019) (Wynn,

        J., concurring) (collecting cases).

              A court considering whether a suit is barred by the TIA therefore must

        undertake a holistic analysis. As the Court elsewhere has noted, “[v]arious

        circuit court decisions provide guidance for considering the . . . question[]

        whether the law is a ‘tax’ or a ‘fee’” under the TIA. Collins Holding Corp. v.

        Jasper County, 123 F.3d 797, 800 (4th Cir. 1997). Those decisions call for

        consideration of, among other things:

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              a) whether the assessment is unusually harsh or otherwise has func-
                 tional characteristics distinct from traditional taxes (suggesting a
                 fee)—see Kurth Ranch, 511 U.S. at 783; Denton, 235 F.2d at 485;
                 see also Lipke, 259 U.S. at 562 (assessments “lack[ing] all the or-
                 dinary characteristics of a tax” are not likely to be taxes);

              b) whether the assessment is paid by a broad population (suggesting a
                 tax) or a narrowly-targeted group of payers (suggesting a fee)—see
                 GenOn, 650 F.3d at 1024-1025; Valero, 205 F.3d at 134; Bidart
                 Bros., 73 F.3d at 931; San Juan Cellular, 967 F.2d at 685;
              c) whether the charge is subject to a pass-through prohibition (sug-
                 gesting a punitive fee)—see, e.g., GenOn, 650 F.3d at 1024-1025;
                 Consolidated Edison Co. of New York v. Pataki, 292 F.3d 338, 355
                 (2d Cir. 2002) (holding that an express “cost-pass-through pro-
                 hibition is plainly punitive”);
              d) whether the proceeds are deposited in the general treasury for
                 open-ended use (suggesting a tax), or instead set aside in a separate
                 fund and earmarked to fund specific programs (suggesting a fee)—
                 see, e.g., GenOn, 650 F.3d at 1023; RILA, 475 F.3d at 189; Collins
                 Holding Corp., 123 F.3d at 800; American Trucking Ass’n v. Alviti,
                 944 F.3d 45, 52-53 (1st Cir. 2019) (American Trucking); Travelers
                 Insurance v. Cuomo, 14 F.3d 708, 713 (2d Cir. 1993); Trailer Ma-
                 rine Transportation v. Rivera Vazquez, 977 F.2d 1, 6 (1st Cir.
                 1992); San Juan Cellular, 967 F.2d at 685;
              e) whether the law’s legislative history and the circumstances sur-
                 rounding its enactment demonstrate a punitive purpose (suggesting
                 a fee)—see, e.g., GenOn, 650 F.3d at 1025; RILA, 475 F.3d at 189;
              f) whether the charge is established by a legislatively-adopted statute
                 (suggesting a tax) or is instead established and assessed by a regu-
                 latory agency (suggesting a use fee or regulatory fee)—see Valero,
                 205 F.3d at 134; Norfolk Southern, 916 F.3d at 319.

        These factors together make clear that the word “tax” under the TIA has a

        specialized meaning that sets it apart from contemporary common usage. As


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        relevant here, it does not include levies with a principal purpose to punish or

        to extract restitutionary support for programs designed to remediate purport-

        ed harms caused by the payers’ activities.

                    2.    Under a totality-of-circumstances analysis, the surcharge
                          here is a punitive fee that may be reviewed in federal court

              Evaluated within this framework, the Act’s levy is a punitive fee and

        not a classic tax within the narrow meaning of the TIA. This Court has fre-

        quently held exactions like this do not constitute taxes under the TIA. See

        GenOn, 650 F.3d at 1022-1026 (holding that an “exaction on carbon dioxide

        emissions” was “in substance a punitive and regulatory” charge, not a

        “tax,” within the meaning of the TIA); RILA, 475 F.3d at 182, 189 (holding

        that “payments” for a statewide employee healthcare program, “collected by

        the Secretary [and] directed to the Fair Share Health Care Fund,” were “a

        quintessential fee or penalty, not a tax” for purposes of the TIA).

              Other circuits agree, including the First Circuit in American Trucking,

        San Juan Cellular, and Trailer Marine, and the Ninth Circuit in Bidart

        Brothers. See also, e.g., Kathrein v. City of Evanston, Illinois, 636 F.3d 906,

        912 (7th Cir. 2011) (citing RILA); Wright v. Riveland, 219 F.3d 905, 911-12

        (9th Cir. 2000) (citing San Juan Cellular, Trailer Marine, Bidart Brothers,

        and The Head Money Cases).




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              Because the relevant factors weigh overwhelmingly in this case against

        application of the TIA and in favor of permitting pre-enforcement judicial re-

        view, the same result is warranted here.

              a. The unusual magnitude of the levy and its extraterritorial focus. An

        unusually “high rate of taxation” is “consistent with a punitive character.”

        Kurth Ranch, 511 U.S. at 780; accord Korte v. Sebelius, 735 F.3d 654, 670

        (7th Cir. 2013) (“The sheer size of the required payment fairly screams ‘pen-

        alty.’”); Denton, 235 F.2d at 485 (finding a “so-called tax” to be “punitive”

        where the amount imposed was “exorbitant”).

              The assessment here is enormous—enough to make digital advertising

        services unprofitable in Maryland. As we noted earlier (supra, at 7) a digital

        advertising company earning $2 billion in net profit on $15 billion in U.S.-

        based gross revenue would have around $40 million in pre-tax net income

        from $300 million in gross revenues earned in Maryland. That would result,

        under the State’s standard 8.25% corporate income tax rate (Tax.-Gen. § 10-

        105(b)), in a healthy $3.3 million Maryland income tax. But the Act’s 10%

        gross revenue surcharge would impose liability for an additional $30 million.

        That’s nearly ten times the corporate income tax, subjecting the company to

        an effective 83% tax rate on net income within the State.

              In condemning a similar charge imposed by the French Government,

        the Office of the U.S. Trade Representative noted for just this reason that

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        “gross revenue” is not “a usual [or] appropriate basis for taxation.” Report

        on France’s Digital Services Tax Prepared in the Investigation under Section

        301 of the Trade Act of 1974, at 55 (Dec. 2, 2019) (“USTR Report”),

        https://perma.cc/XD9H-ZQ44. Among other problems, assessments against

        gross revenue apply to all of a company’s income, even if the company is un-

        profitable or has a low net income, potentially “entirely eliminat[ing] their

        profit margin.” Id. at 4; accord id. at 55-60.

              When a State imposes such “severe and disproportionate monetary

        consequences” on an entire business model, “the primary purpose of the

        scheme must be understood as regulatory and punitive rather than revenue

        raising.” Korte, 735 F.3d at 670 (holding that a “$100 per day per employ-

        ee” assessment was “such a high price” as to suggest “the congressional ob-

        jective is punitive”). The district court did not address this point at all.

              b. Narrow targeting. The Act’s punitive character is confirmed by the

        tight targeting of the exaction. “[T]he whole idea of a tax” is not only that it

        helps to fund the general treasury, but also that it is “a burden generally

        borne.” GenOn, 650 F.3d at 1024; accord Valero, 205 F.3d at 134 (a tax is

        assessed “upon a large segment of society”) (citing San Juan Cellular, 967

        F.2d at 685). Thus, “[a]n assessment imposed upon a broad class of parties

        is more likely to be a tax than an assessment imposed upon a narrow class.”

        Bidart Brothers, 73 F.3d at 931. “The fact that [a] charge affects the narrow-

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        est possible class is compelling evidence that it is a punitive fee rather than a

        tax.” GenOn, 650 F.3d at 1024.

              That is the case here. The Act’s tiered structure ensures that only a

        thin sliver of companies pay the highest, most burdensome levels of the exac-

        tion. As we explained below, only about 200 companies anywhere in the

        world had gross revenues exceeding $15 billion in 2021, including banks,

        pharmaceutical companies, car manufacturers, oil companies, and defense

        contractors that do not derive income from internet advertising. The number

        of companies earning that level of revenue that also happen to derive more

        than $1 million annually from digital advertising sales in Maryland is exceed-

        ingly few. And we know from the legislative history that lawmakers were

        specifically “taget[ing]” only a handful of particular companies “like Ama-

        zon, Facebook, and Google.” JA13-14 (¶ 2).

              Further, the Act does not impose its assessment against in-state

        revenues evenhandedly. The tiering of rates based on global revenue means

        that Company A will pay more than Company B—double, triple, even

        quadruple—for precisely the same in-state conduct, solely because Company

        A has greater out-of-state sales. There is no explanation for a progressively

        more crushing exaction against in-state revenues like this, except an intent

        to punish large technology companies for being large.



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              The Act also exempts from liability all “broadcast” and “news media”

        entities. Tax-Gen. § 7.5101(d), (g). Such companies are among the biggest

        sellers of digital advertising services and would have borne much of the

        Act’s brunt. But in lawmakers’ eyes, those entities are not among the

        “[m]assive technology companies” whose perceived bad behavior has “re-

        sulted in negative externalities socialized and borne by the public.” JA23

        (¶ 45). The 2021 amendment’s exclusion of “broadcast” and “news media”

        entities thus underscores that the Act is not principally about raising reve-

        nue, but instead about targeting “the narrowest possible class” (GenOn, 650

        F.3d at 1024) of disfavored companies “like Amazon, Facebook, and

        Google” (JA13-14 (¶ 2)).

              The district court’s contrary conclusion (JA155) that “there can be no

        genuine dispute that many companies . . . will be liable for the charge”

        ignores critical features of the Act. Because of the Act’s tiered structure,

        only a small handful of specifically identified companies will pay the highest

        levels of the exaction. And the carve-out for media companies, combined

        with the legislative history reflecting an intent to target large digital adver-

        tising platforms, confirms the targeted nature of the Act.

              For its part, the State does not deny that the Act deliberately singles

        out a narrow range of disfavored firms for the harshest treatment. Nor does it

        dispute that “an assessment imposed upon a narrow class is less likely to be

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        a tax than an assessment imposed upon a broad class of parties.” GenOn,

        650 F.3d at 1024 (quotation marks omitted). It should go without saying

        that an exaction paid by three expressly targeted companies, or even 20 or

        30, is narrow and not generally borne. Cf. RILA, 475 F.3d at 185 (four com-

        panies were eligible for the assessment, which was expressly aimed at Wal-

        Mart).

              c. The pass-through provision. The 2021 addition of the pass-through

        provision lends further support to the Act’s punitive purpose. If the point of

        the Act were merely to raise revenue, the legislature would have been indif-

        ferent to whether the initial payers pass the charge on to downstream market

        participants through ordinary economic forces. But it was not. The pass-

        through provision is express evidence that the legislature wanted to ensure

        that the initial targets of the surcharge, and they alone, bear its burden. The

        State has continued that theme throughout this litigation, insisting that the

        point of the provision is to ensure that the tax is borne by large digital adver-

        tising companies, and not by others.

              To be sure, the pass-through prohibition is ineffectual on this score; as

        the State has now stipulated, it does not succeed in prohibiting the passing-

        on of the assessment and instead only muzzles speech (itself suggestive of a

        disciplinary purpose). But for present purposes, that is beside the point. As

        the Second Circuit has held, nothing “other than punishment can justify” a

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        legislative attempt (successful or not) to “prevent[ payers] from passing” an

        exaction along to downstream market participants. ConEd, 292 F.3d at 353-

        355. That was a principal basis for this Court’s decision in GenOn, and it is

        equally true here.

              d. Segregation of the funds and use for remediation. Also relevant under

        the TIA is “whether an injunction would pose a ‘threat to the central stream

        of tax revenue relied on by’ the state,” which is, after all, the principle con-

        cern the TIA was intended to prevent. American Trucking, 944 F.3d at 53

        (quoting Trailer Marine, 977 F.2d at 6).

              An injunction here would not pose such a threat. When the proceeds of

        a levy are “placed in a segregated account and expended by a single entity for

        a single purpose,” they “stand quite apart from the [S]tate’s central stream

        of government funding provided by traditional types of taxes, enough so as

        to” demonstrate that it is not a “‘tax’ as used in the TIA.” American Truck-

        ing, 944 F.3d at 53. That is true here.

              Moreover, the funds are set aside in a segregated fund specifically to

        remediate alleged “negative externalities socialized and borne by the public”

        resulting from the payers’ activity. JA23 (¶ 45). That places this case in the

        same category as The Head Money Cases, Trailer Marine, and GenOn. In

        GenOn, in particular, this Court cited as evidence of a non-tax purpose the

        decision by lawmakers to earmark 50% of the proceeds of a carbon emissions

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        charge “to funding for County greenhouse gas reduction programs.” 650

        F.3d at 1025. Here, the proceeds from the charge are likewise earmarked to

        remediate the perceived harms created by the targeted firms. JA23 (¶ 46);

        Educ. § 1- 302(a)(1). As the First Circuit has put it, the proceeds are “placed

        in a segregated account and expended by a single entity for a single [remedi-

        al] purpose,” thus standing apart from the “central stream of government

        funding.” American Trucking, 944 F.3d at 53.

              The district court’s observation (JA155) that the Blueprint Fund is

        used to support “the general welfare” and “general government activity that

        will benefit the entire community” proves too much. As the First Circuit has

        recognized, a government charge is not a “tax” within the meaning of the

        TIA solely because it is set aside to fund a “social welfare program” (in that

        case, a compensation fund for victims of car accidents). Trailer Marine, 977

        F.2d at 5. Virtually any expenditure of government money can be so charac-

        terized, and accepting such a broad interpretation of the word “tax” (money

        used for the general welfare) would mean that essentially every government

        levy would constitute a “tax” under the TIA. Id.

              It also is no answer to say that dollars are fungible, and “more revenue

        from the general fund would have to be spent” on education if the Act’s sur-

        charge were not collected and deposited in the Blueprint Fund. American

        Trucking, 944 F.3d at 52. That, too, “can be said of virtually all activity by a

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        [S]tate and all sources of state revenue: the activity serves the public benefit,

        and that benefit would need to be paid for (or lost) with general tax revenues

        but for the alternative revenue source.” Id. at 53. By those lights, all assess-

        ments would be taxes, which, again, “proves too much.” Id.

              e. The legislative history and circumstances. “The circumstances sur-

        rounding the Act’s enactment” and its legislative history, too, point toward a

        punitive fee that may be challenged in federal court. See RILA, 475 F.3d at

        189; accord GenOn, 650 F.3d at 1025.

              Maryland Senate President Ferguson heralded the Romer op-ed as a

        model for the Act. JA22-23 (¶¶ 43-45). Romer described large digital adver-

        tising companies as “too big to trust” and blamed them for creating “a haven

        for dangerous misinformation and hate speech,” expressly encouraging

        States to impose a “surcharge” or “penalty” on digital advertising. JA22

        (¶ 43). In written testimony before the state Senate, Romer continued to rail

        against these companies as guilty of “pervasive dishonesty,” decrying “that

        something is terribly wrong with the market for digital services.” JA22

        (¶ 44). The Act was introduced expressly as a “solution” to this perceived

        misconduct. JA23 (¶ 45). Together with the other facts indicating clear leg-

        islative disapproval and a punitive purpose, this strongly suggests that the

        exaction is a punitive levy that may be challenged in federal court.



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              The district court did not account for any of this. Its only analysis even

        indirectly addressing this point was to say that the Act cannot be punitive

        within the meaning of the TIA’s doctrine because it applies to payers who are

        not engaged in “unlawful conduct.” JA156. But it has been evident for more

        than a century that an exaction may constitute a punitive fee for TIA

        purposes even when assessed for lawful conduct.

              In Drexel Furniture, the Supreme Court concluded that a child labor

        tax—a charge against the income of companies (then) lawfully employing

        boys under the age of 14—was in fact a penalty for asserted “wrongdoing,”

        and thus not a tax. Id. The Court reached that conclusion despite that “Con-

        gress d[id] not . . . expressly declare that the employment within the men-

        tioned ages is illegal.” 259 U.S. at 38. And Hill involved an assessment

        against lawful sales of grain. 259 U.S. at 257. The Court later held that Hill

        must “be classed with Lipke, as [involving] a penalty in the form of a tax.”

        Graham v. DuPont, 262 U.S. 234, 258 (1923) (full case citation omitted).

              Simply put, the fact that Maryland desired to punish lawful conduct

        makes its purpose no less punitive. Cf. Austin v. United States, 509 U. S.

        602, 610 (1993) (in an Excessive Fines Clause case, noting that “the

        question is not . . . whether [a monetary penalty] is civil or criminal, but

        rather whether it is punishment”). Once again, the district court ignored

        these arguments.

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               f. Identity of the government entity assessing the charge. It is true that

        the Act was passed by the legislature and not imposed unilaterally by an

        agency. See JA154-155 (district court noting that “a charge is more likely to

        be a tax if it is imposed by the legislature, which is the case here”). But that

        alone cannot “disguise what is in substance a punitive and regulatory mat-

        ter” according to every other relevant consideration. GenOn, 650 F.3d at

        1024. The charges assessed in GenOn and RILA also were imposed by the

        legislature, as were those in American Trucking, Trailer Marine, San Juan

        Cellular, Kathrein, and Wright. In each of those cases, reviewing courts did

        not hesitate to look past that fact and hold that the exaction was not a “tax”

        within the meaning of the TIA.

               The totality of circumstances here thus confirms that the Act’s

        assessment is not a classic tax within the TIA’s scope, but rather a punitive

        fee that is subject to pre-enforcement judicial review in federal court.

        III.   THE COURT MUST AT MINIMUM REMAND WITH INSTRUC-
               TIONS TO VACATE THE TIA DECISION AND MODIFY THE
               FINAL JUDGMENT

               This case was not moot when the district court dismissed it, and it is

        not moot now. But should the Court disagree, its “customary practice . . . is

        to vacate the moot aspects of the lower court’s judgment.” Norfolk Southern

        Railway Co. v. City of Alexandria, 608 F.3d 150, 161 (4th Cir. 2010). Such is

        “the duty of the appellate court.” United States v. Munsingwear, 340 U.S.

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        36, 40 (1950). If the Court were to affirm on mootness grounds, it thus must

        remand with instructions to vacate the district court’s TIA decision.

              If the court reverses on mootness but affirms on the TIA, it must

        remand with instructions to modify the judgment. A dismissal based on a

        “defect in subject matter jurisdiction . . . must be one without prejudice.”

        Southern Walk at Broadlands Homeowner’s Association v. OpenBand at

        Broadlands, 713 F.3d 175, 185 (4th Cir. 2013). The district court’s dismissal

        of Counts I-III was assertedly on jurisdictional grounds (JA438) 1 but was

        entered with prejudice. A “remand with instructions that [Counts I-III] be

        dismissed without prejudice” would thus be in order. Id.

                                        CONCLUSION

              The Court should reverse the district court’s dismissal for mootness

        and remand with instructions to grant relief on Count IV of the complaint. It

        also should reverse the dismissal of Counts I-III under the TIA and remand

        to address the merits of those claims.


        1
           It is unclear whether the TIA is in fact a jurisdictional statute or states a
        mandatory claim-processing rule. See Elsevier, Inc. v. Muchnick, 559 U.S.
        154, 161 (2010) (distinguishing “between jurisdictional prescriptions and
        claim-processing rules”). Although the TIA does not use clear jurisdictional
        language, courts have sometimes referred to it as jurisdictional. See Hibbs v.
        Winn, 542 U.S. 88, 104 (2004) (discussing legislative history). Yet neither
        the Supreme Court nor this Court has held that the TIA is jurisdictional in a
        case where the question was raised. Regardless, a dismissal on TIA grounds
        should be without prejudice to raising the same claims in state court.

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        Dated: January 25, 2023                    Respectfully submitted,
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                              CERTIFICATE OF COMPLIANCE

              Pursuant to Federal Rule of Appellate Procedure 32(a)(7)(C), under-

        signed counsel for intervenors certifies that this brief:

              (i) complies with the type-volume limitation of Rule 32(a)(7) because

        it contains 12,959 words, including footnotes and excluding the parts of the

        brief exempted by Rule 32(a)(7)(B)(iii); and

              (ii) complies with the typeface requirements of Rule 32(a)(5) and the

        type style requirements of Rule 32(a)(6) because it has been prepared using

        Microsoft Office Word and is set in Century Supra in 14 points.

        Dated: January 25, 2023                     /s/ Michael B. Kimberly
